Case 2:19-cv-02874-SVW-MAA Document 23 Filed 06/13/19 Page 1 of 2 Page ID #:106



  1
  2
  3
  4
  5
  6
  7
  8
                          UNITED STATES DISTRICT COURT
  9
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11   Lee Wigod, individually and on behalf
      of all others similarly situated,          Case No. 2:19-cv-02874-SVW-MAA
 12
                               Plaintiff,
 13                                              ORDER GRANTING JOINT
            v.                                   STIPULATION TO CONTINUE
 14                                              HEARING RE: DEFENDANT’S
      CallFire, Inc., a Delaware corporation,    MOTION TO DISMISS (DKT. 17.)
 15
                               Defendant.
 16                                                   Judge: Hon. Stephen V. Wilson
 17                                               Complaint Filed: April 15, 2019
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28   ORDER GRANTING JOINT
      STIPULATION TO CONTINUE HEARING           -1-
      RE: DEFENDANT’S MOTION
      TO DISMISS (DKT. 17.)
Case 2:19-cv-02874-SVW-MAA Document 23 Filed 06/13/19 Page 2 of 2 Page ID #:107



  1         Pursuant to the parties’ May 29, 2019 Joint Stipulation to Continue Hearing
  2   re: Defendant’s Motion to Dismiss (Dkt. 17), and good cause appearing, it is hereby
  3   Ordered:
  4         1.    That the hearing on Defendant’s Motion to Dismiss set for June 24,
  5               2019 is vacated and reset to July 15, 2019, at 1:30 p.m.
  6   IT IS SO ORDERED.
  7
  8
  9   Dated: June 13, 2019
                                                    Hon. Stephen V. Wilson
 10                                                 United States District Judge
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28   ORDER GRANTING JOINT
      STIPULATION TO CONTINUE HEARING         -2-
      RE: DEFENDANT’S MOTION
      TO DISMISS (DKT. 17.)
